Case 2:24-cv-05712-FLA-SSC Document 1-9 Filed 07/08/24 Page 1 of 4 Page ID #:93




                                                                  Exhibit A – Page 92
Case 2:24-cv-05712-FLA-SSC Document 1-9 Filed 07/08/24 Page 2 of 4 Page ID #:94




                                                                  Exhibit A – Page 93
Case 2:24-cv-05712-FLA-SSC Document 1-9 Filed 07/08/24 Page 3 of 4 Page ID #:95




                                                                  Exhibit A – Page 94
Case 2:24-cv-05712-FLA-SSC Document 1-9 Filed 07/08/24 Page 4 of 4 Page ID #:96




                                                                  Exhibit A – Page 95
